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                                                                                                      HYDRO EXTRUSION USA, LLC
                                                                                                  8
                                                                                                  9
                                                                                                 10                      UNITED STATES DISTRICT COURT
                                                                                                 11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                                                                                 13    FERNANDO CERVANTES, an                 Case No.
                                                                                                       individual,
                                                                                                 14
                                                                                                                                              (Los Angeles County Superior Court
                                                                                                 15                     Plaintiff,            Case No. 21STCV04828)
                                                                                                 16               vs.                         NOTICE OF REMOVAL OF CIVIL
                                                                                                                                              ACTION OF DEFENDANT HYDRO
                                                                                                 17    HYDRO EXTRUSION USA, LLC, a            EXTRUSION USA, LLC UNDER 28
                                                                                                 18    Delaware corporation; and DOES 1       U.S.C. §§ 1332, 1441 AND 1446
                                                                                                       through 50, inclusive,
                                                                                                 19                                           (DIVERSITY JURISDICTION)
                                                                                                                        Defendants.
                                                                                                 20                                           [Filed concurrently with Civil Cover
                                                                                                                                              Sheet; Notice of Interested Parties;
                                                                                                 21
                                                                                                                                              Corporate Disclosure Statement;
                                                                                                 22                                           Declaration of Karina Lo; Declaration
                                                                                                                                              of Eddie Lopez and Declaration of
                                                                                                 23                                           Robert Rubicky]
                                                                                                 24
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                                                                                                  1
                                                                                                            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                                                                                  2
                                                                                                      DISTRICT       OF     CALIFORNIA           AND    TO    PLAINTIFF        FERNANDO
                                                                                                  3
                                                                                                      CERVANTES AND HIS ATTORNEYS OF RECORD:
                                                                                                  4
                                                                                                            PLEASE TAKE NOTICE that Defendant Hydro Extrusion USA, LLC
                                                                                                  5
                                                                                                      (“Defendant” or “Hydro”) hereby removes this action from the Superior Court of the
                                                                                                  6
                                                                                                      State of California for the County of Los Angeles to the United States District Court
                                                                                                  7
                                                                                                      for the Central District of California, on the grounds that this Court has original
                                                                                                  8
                                                                                                      jurisdiction over this civil action pursuant to 28 U.S.C. section 1332(a), 28 U.S.C.
                                                                                                  9
                                                                                                      section 1441, and all other applicable bases for removal, on the grounds that diversity
                                                                                                 10
                                                                                                      jurisdiction exists between the parties.
                                                                                                 11
                                                                                                            Plaintiff Fernando Cervantes (“Plaintiff”) is a “citizen of a State different from”
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                                                                 Irvine, California 92614-7276




                                                                                                      Defendant and the matter in controversy exceeds the sum or value of $75,000,
                                                                                                 13
                                                                                                      exclusive of interest and costs. The facts supporting the Court’s original jurisdiction
                                                                                                 14
                                                                                                      were true at the time Plaintiff filed his Complaint in this matter and remain true as of
                                                                                                 15
                                                                                                      the date of the filing of this Notice of Removal, as more fully set forth below:
                                                                                                 16
                                                                                                                               PROCEDURAL BACKGROUND
                                                                                                 17
                                                                                                            1.     On February 8, 2021, Plaintiff filed a Complaint against Defendant (the
                                                                                                 18
                                                                                                      “Complaint”), entitled Fernando Cervantes, an individual v. Hydro Extrusion USA,
                                                                                                 19
                                                                                                      LLC, a Delaware Corporation; and DOES 1 through 50, inclusive, in Los Angeles
                                                                                                 20
                                                                                                      County Superior Court, Case Number 21STCV04828 (the “State Court Action”). A
                                                                                                 21
                                                                                                      true and correct copy of the Complaint, which was served on Defendant’s agent for
                                                                                                 22
                                                                                                      service of process, CT Corporation System, Los Angeles, is attached as Exhibit A.
                                                                                                 23
                                                                                                            2.     In addition to the Complaint, true and correct copies of the following
                                                                                                 24
                                                                                                      documents are attached: (1) the Summons is attached as Exhibit B; (2) the Civil Case
                                                                                                 25
                                                                                                      Cover Sheet is attached as Exhibit C; (3) the Notice of Case Assignment - Unlimited
                                                                                                 26
                                                                                                      Civil Case is attached as Exhibit D; (4) Order to Show Cause Failure to File Proof of
                                                                                                 27
                                                                                                      Service is attached as Exhibit E; (5) the Notice of Case Management Conference is
                                                                                                 28

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                                                                                                                                                                          NOTICE OF REMOVAL
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                                                                                                  1 attached as Exhibit F; (6) the Peremptory Challenge to Judicial Officer is attached as
                                                                                                  2 Exhibit G; (7) the Proof of Service of Summons is attached as Exhibit H; (8) the
                                                                                                  3 Minute Order is attached as Exhibit I; and (9) Certificate of Mailing is attached as
                                                                                                  4 Exhibit J.
                                                                                                  5          3.   Exhibits A through J to this Notice of Removal constitute all pleadings,
                                                                                                  6 processes, and orders served in this action at the time of removal.
                                                                                                  7          4.   Plaintiff alleges the following causes of action against Defendant:
                                                                                                  8 (1) Breach of Contract; (2) Breach of Implied Covenant of Good Faith and Fair
                                                                                                  9 Dealing; (3) Promissory Estoppel; (4) Failure to Pay All Wages Due; (5) Failure to
                                                                                                 10 Pay All Wages Upon Separation Pursuant to Labor Code Sections 201-203; and
                                                                                                 11 (6) Unfair Competition California Business and Professions Code Section 17200 et.
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                                                                                                 12 seq. See Ex. A, Compl., ¶¶ 1-46.
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                                                                                                 13          5.   Pursuant to 28 U.S.C. § 1446(d), Defendant will provide prompt written
                                                                                                 14 notice of this Notice of Removal to all adverse parties and to the Clerk of the state
                                                                                                 15 court.
                                                                                                 16                                REMOVAL IS TIMELY
                                                                                                 17          6.   This action has not previously been removed to federal court.
                                                                                                 18          7.   In general, a defendant must file its notice of removal within thirty (30)
                                                                                                 19 days after receipt of the first pleading in the state action that sets forth a removable
                                                                                                 20 claim. 28 U.S.C. § 1446(b)(1). This Notice of Removal is timely as it is being filed
                                                                                                 21 less than thirty (30) days after February 11, 2021, the date on which Defendant’s agent
                                                                                                 22 for service of process was served with a copy of the Complaint, and within one year
                                                                                                 23 of Plaintiff’s filing of the State Court Action.
                                                                                                 24                      PLAINTIFF’S COMPLAINT IS SUBJECT
                                                                                                 25                TO REMOVAL BASED ON DIVERSITY GROUNDS
                                                                                                 26          8.   This Court has original jurisdiction over this action under
                                                                                                 27 28 U.S.C. § 1332(a), and is properly removable pursuant to the provisions of 28
                                                                                                 28 U.S.C. §§ 1441(a) and (b) because (1) there is complete diversity of citizenship

                                                                                                                                             2
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                                                                                                  1 between Plaintiff and Defendant; and (2) the amount-in-controversy exceeds $75,000,
                                                                                                  2 exclusive of interest and costs.
                                                                                                  3     Complete Diversity of Citizenship Exists Between Plaintiff and Defendant
                                                                                                  4         9.       Plaintiff is a Citizen of the State of California. A person is a “citizen”
                                                                                                  5 of the state in which he is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d
                                                                                                  6 1088, 1090 (9th Cir. 1983). Plaintiff’s Complaint alleges that he was at all times
                                                                                                  7 relevant herein a resident of the County of Orange, State of California, and that he
                                                                                                  8 worked for Defendant in the City of Industry, California. Ex. A, Compl. ¶¶ 1, 11;
                                                                                                  9 Declaration of Robert Rubicky (“Rubicky Decl.”), ¶ 3. Defendant’s records reflect
                                                                                                 10 that Plaintiff was a resident of Orange County, California during his employment with
                                                                                                 11 Defendant until his voluntary resignation on or about October 1, 2020. Rubicky Decl.,
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                                                                                                 12 ¶ 3; Ex. A, Compl. ¶ 1. In or about October 2020, Plaintiff moved his residency to
                                                                 Irvine, California 92614-7276




                                                                                                 13 the State of Indiana with the intention of remaining in the State of Indiana indefinitely.
                                                                                                 14 Declaration of Eddie Lopez, ¶¶ 2-4. Thus, Plaintiff is, and was at the commencement
                                                                                                 15 of this action, a citizen of the State of Indiana.
                                                                                                 16         10.      Defendant is a Citizen the State of Delaware. As shown in paragraph
                                                                                                 17 4 of the Declaration of Robert Rubicky (filed concurrently with this Notice of
                                                                                                 18 Removal) and the excerpt from the California Secretary of State’s Business Entity
                                                                                                 19 Search website, shown below, Defendant is a Delaware limited liability company.
                                                                                                 20              201803710693            HYDRO EXTRUSION USA, LLC
                                                                                                                  Registration Date:        01/04/2018
                                                                                                 21               Jurisdiction:             DELAWARE
                                                                                                                  Entity Type:              FOREIGN
                                                                                                 22               Status:                   ACTIVE
                                                                                                                  Agent for Service of      CORPORATION SERVICE COMPANY WHICH WILL
                                                                                                 23               Process:                  DO BUSINESS IN CALIFORNIA AS CSC - LAWYERS
                                                                                                                                            INCORPORATING SERVICE, (C1592199)
                                                                                                                                            To find the most current California registered Corporate
                                                                                                 24                                         Agent for Service of Process address and authorized
                                                                                                                                            employee(s) information, click the link above and then
                                                                                                 25                                         select the most current 1505 Certificate.
                                                                                                                  Entity Address:           6250 N. RIVER ROAD: SUITE 5000
                                                                                                 26                                         ROSEMONT IL 60018
                                                                                                                  Entity Mailing Address:   6250 N. RIVER ROAD, SUITE 5000
                                                                                                 27                                         ROSEMONT IL 60018

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                                                                                                                                                                                       NOTICE OF REMOVAL
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                                                                                                  1 Rubicky Decl. ¶ 4, Exhibit B, URL at http://businesssearch.sos.ca.gov/ (Entity Name
                                                                                                  2 Searched = “Hydro Extrusion USA, LLC”).
                                                                                                  3         11.     As a limited liability company, Defendant is deemed to be a citizen of
                                                                                                  4 any state where a member is a resident or citizen. 28 U.S.C. § 1332(c)(1).
                                                                                                  5         12.     The sole member of Defendant is Hydro Holding North America, Inc.
                                                                                                  6 Rubicky Decl., ¶ 5.
                                                                                                  7         13.     At the time of the filing of this action, as shown below, Hydro Holding
                                                                                                  8 North America, Inc. was, and still is, a corporation incorporated under the laws of
                                                                                                  9 the State of Delaware with its principal place of business and headquarters in the
                                                                                                 10 State of Illinois.
                                                                                                 11         C4276200        HYDRO HOLDING NORTH AMERICA, INC.
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                                                                                                             Registration Date:                    05/10/2019
                                                                 Irvine, California 92614-7276




                                                                                                 12          Jurisdiction:                         DELAWARE
                                                                                                             Entity Type:                          FOREIGN STOCK
                                                                                                 13          Status:                               ACTIVE
                                                                                                             Agent for Service of Process:         CORPORATION SERVICE COMPANY WHICH
                                                                                                 14                                                WILL DO BUSINESS IN CALIFORNIA AS CSC
                                                                                                                                                     LAWYERS INCORPORATING SERVICE
                                                                                                 15                                                (C1592199)
                                                                                                                                                   To find the most current California registered
                                                                                                 16                                                Corporate Agent for Service of Process address and
                                                                                                                                                   authorized employee(s) information, click the link
                                                                                                                                                   above and then select the most current 1505
                                                                                                 17                                                Certificate.

                                                                                                 18          Entity Address:                       6250 N RIVER ROAD SUITE 5000
                                                                                                                                                   ROSEMONT IL 60018
                                                                                                             Entity Mailing Address:               6250 N RIVER ROAD SUITE 5000
                                                                                                 19                                                ROSEMONT IL 60018

                                                                                                 20 Rubicky Decl. ¶ 5, Exhibit C, URL at http://businesssearch.sos.ca.gov/ (Entity Name
                                                                                                 21 Searched = “Hydro Holding North America, Inc.”).
                                                                                                 22         14.     Hydro Holding North America, Inc.’s corporate headquarters are located
                                                                                                 23 in the State of Illinois. Rubicky Decl. ¶ 5. Its officers direct, control, and coordinate
                                                                                                 24 its activities from that location, and the majority of its U.S.-based executive and
                                                                                                 25 administrative functions are performed from the headquarters in Illinois. Rubicky
                                                                                                 26 Decl., ¶ 5. For removal purposes, Hydro Holding North America, Inc. is a citizen of
                                                                                                 27 the States of Delaware and Illinois. Accordingly, Defendant is also a citizen of the
                                                                                                 28 States of Delaware and Illinois.

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                                                                                                  1         15.    Because Plaintiff is a citizen of Indiana and Defendant is a citizen of
                                                                                                  2 Delaware and Illinois, complete diversity of citizenship exists between Plaintiff and
                                                                                                  3 Defendant.
                                                                                                  4            The Citizenship of the DOE Defendants Must be Disregarded.
                                                                                                  5         16.    The Complaint also names as defendants “DOES 1-10.” Defendant is
                                                                                                  6 informed and believes, and on that basis alleges, that none of the fictitiously named
                                                                                                  7 defendants has been served with a copy of the Summons and Complaint. Therefore,
                                                                                                  8 the fictitiously named defendants are not parties to the above-captioned action and
                                                                                                  9 need not consent to removal. See 28 U.S.C. § 1441(b)(1); Fristoe v. Reynolds
                                                                                                 10 Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (“Doe” defendants need not be
                                                                                                 11 joined in a removal petition).
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                                                                                                            17.    Thus, Defendants “DOES 1 through 10” are fictitious defendants whose
                                                                 Irvine, California 92614-7276




                                                                                                 12
                                                                                                 13 citizenship is disregarded for purposes of removal. See 28 U.S.C. § 1441(a).
                                                                                                                                                                                  1
                                                                                                 14                 The Alleged Amount in Controversy Exceeds $75,000
                                                                                                 15         18.    Although Defendant denies any liability as to Plaintiff’s claims, the
                                                                                                 16 amount-in-controversy in this action exceeds the sum of $75,000. In general, courts
                                                                                                 17 in the Ninth Circuit recognize that a removing defendant’s burden is not “daunting,”
                                                                                                 18 and does not obligate the removing defendant to “research, state, and prove the
                                                                                                 19 plaintiff’s claim for damages.” Coleman v. Estes Express Lines, Inc., 730 F. Supp.
                                                                                                 20 2d 1141, 1158 (C.D. Cal. 2010) (citing Muniz v. Pilot Travel Centers LLC, No. CIV.
                                                                                                 21 S-07-0325 FCD EFB, 2007 WL 1302504, at *2 (E.D. Cal., May 1, 2007)). Defendant
                                                                                                 22 need only “provide evidence establishing that it is ‘more likely than not’ that the
                                                                                                 23 amount in controversy exceeds” $75,000. Guglielmino v. McKee Foods Corp., 506
                                                                                                 24 F.3d 696, 699-700 (9th Cir. 2007). Thus, “[o]nce the proponent of jurisdiction has
                                                                                                 25 set out the amount in controversy, only a ‘legal certainty’ that the judgment will be
                                                                                                 26
                                                                                                      1
                                                                                                     Defendant denies any liability whatsoever with respect to Plaintiff’s claims. The sole
                                                                                                 27 purpose of this removal is to establish the amount that is in controversy with respect to
                                                                                                 28 Plaintiff’s claims.

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                                                                                                  1 less forecloses federal jurisdiction.” Brill v. Countrywide Home Loans, Inc., 427 F.3d
                                                                                                  2 446, 447 (7th Cir. 2005).
                                                                                                  3         19.   The amount in controversy is determined from the allegations and prayer
                                                                                                  4 of the complaint. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289
                                                                                                  5 (1938). If the complaint does not, on its face, reflect the amount in controversy, the
                                                                                                  6 Court may consider facts from the removal petition, as well as evidence submitted by
                                                                                                  7 the parties, relevant to the amount in controversy at the time of removal. Singer v.
                                                                                                  8 State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).
                                                                                                  9         20.   An action may be removed if a defendant establishes, by a
                                                                                                 10 preponderance of the evidence, that the aggregate amount-in-controversy exceeds the
                                                                                                 11 jurisdictional amount. See Abrego v. Dow Chemical Co., 443 F.3d 676, 683 (9th Cir.
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                                                                                                 12 2006); Bank of Cal. Nat’l Ass’n v. Twin Harbors Lumber Co., 465 F.2d 489, 491 (9th
                                                                 Irvine, California 92614-7276




                                                                                                 13 Cir. 1972). The Court may, for removal purposes, look to the pleadings for underlying
                                                                                                 14 facts establishing the jurisdictional limit. Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th
                                                                                                 15 Cir. 1992).
                                                                                                 16         21.   As set forth below, the amount-in-controversy in this action exceeds the
                                                                                                 17 jurisdictional minimum of $75,000.
                                                                                                 18         22.   Severance Agreement. Plaintiff’s Complaint alleges damages,
                                                                                                 19 including damages allegedly owed under a contract allegedly entered into orally and
                                                                                                 20 in writing, wherein Defendant agreed to pay severance payments totaling $46,664.00.
                                                                                                 21 Compl. ¶¶ 19-20, 23-24, 27-30. Plaintiff claims damages and other economic losses,
                                                                                                 22 including the severance payments of $46,664.00. Id. at ¶¶ 19-21, 23-25, 27-32, 34-
                                                                                                 23 35.
                                                                                                 24         23.   Waiting Time Penalties. Plaintiff further seeks waiting time penalties
                                                                                                 25 pursuant to California Labor Code § 203, equal to his daily wage for thirty (30) days.
                                                                                                 26 Compl., ¶¶ 38-40.
                                                                                                 27         24.   For purposes of calculating the amount in controversy, at the time of his
                                                                                                 28 voluntary resignation of employment, Plaintiff’s annual salary was approximately

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                                                                                                                                                                        NOTICE OF REMOVAL
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                                                                                                  1 $186,656.08 (i.e., $89.7385 per hour). Rubicky Decl., ¶ 6. Because Plaintiff resigned
                                                                                                  2 from his employment more than 30 days from the date of this Removal, Plaintiff’s
                                                                                                  3 waiting-time penalty claim amounts to $21,537.24 (i.e., $89.7385 per hour x 8 hours
                                                                                                  4 per day x 30 days).
                                                                                                  5         25.   Attorneys’ fees. Plaintiff seeks attorneys’ fees in connection with his
                                                                                                  6 claims. See Ex. A, Compl., ¶¶ 36, 46, Prayer for Relief, ¶ 6. Attorneys’ fees are
                                                                                                  7 properly included in the amount in controversy. Taylor v. United Rd. Servs., Inc., 313
                                                                                                  8 F. Supp. 3d 1161, 1180 (E.D. Cal. 2018) (“The Ninth Circuit has held that for
                                                                                                  9 purposes of determining subject-matter jurisdiction, attorneys’ fees can be taken into
                                                                                                 10 account in determining the amount in controversy if statute authorizes fees to a
                                                                                                 11 successful litigant”) (internal quotations marks and citation omitted); Galt G/S v. JSS
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                                                                                                 12 Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998).
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                                                                                                 13         26.   Moreover, where, as here, a plaintiff seeks to recover attorneys’ fees,
                                                                                                 14 the court must consider future attorneys’ fees when determining the amount in
                                                                                                 15 controversy. Fritsch v. Swift Transportation Co. of Ariz., LLC, 899 F.3d 785, 794
                                                                                                 16 (9th Cir. 2018) (“[A] court must include future attorneys’ fees recoverable by statute
                                                                                                 17 or contract when assessing whether the amount-in-controversy requirement is
                                                                                                 18 met.”). The Court may examine the nature of the action and the relief sought and
                                                                                                 19 take judicial notice of attorneys’ fee awards in similar cases. Margolin v. Regional
                                                                                                 20 Planning Comm’n, 134 Cal. App. 3d 99 (1982).
                                                                                                 21         27.   Notably, attorneys’ fees for similar claims involving breach of contract
                                                                                                 22 and wage claims, particularly those involving contracts entered into between an
                                                                                                 23 employer and its employee, often range from $120,000 to $275,000. See e.g.,
                                                                                                 24 Keszey v. Red Hawk Fire & Sec. (CA), LLC, 2015 WL 3542305 (Cal. App. 2d Dist.
                                                                                                 25 June 5, 2015) (affirming the court’s award of $390,469.50 in attorney fees for
                                                                                                 26 claims including failure to pay earned wages, breach of contract, promissory
                                                                                                 27 estoppel); Hines v. Premier Power Renewable Energy, Inc., 2014 WL 6674083 (Cal.
                                                                                                 28 App. 4th Dist. Nov. 25, 2014) (affirming the lower court’s award of $122,378 in

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                                                                                                  1 attorney fees for similar claims, including breach of contract of a compensation
                                                                                                  2 agreement between an employer and employee); Parcell Steel Co. v. Sauer, 2012
                                                                                                  3 WL 662307 (Cal. App. 4th Dist. Feb. 28, 2012) (affirming awards of $214,270 and
                                                                                                  4 $272,109.50 in attorney fees); Morley v. United Parcel Serv., Inc., 2010 WL
                                                                                                  5 4631293 (Ct. App. Nov. 17, 2010) (affirming the court’s award of $139,000 in
                                                                                                  6 attorney fees for wage and hour claims and a cross-complaint for breach of
                                                                                                  7 contract).
                                                                                                  8         28.   Similarly, attorneys’ fees for individual claims based on California
                                                                                                  9 Labor Code violations often range anywhere from $70,000 to $150,000. See
                                                                                                 10 Aleman v. AirTouch Cellular, 209 Cal. App. 4th 556, 583 (2012) (awarding
                                                                                                 11 $146,000 and $140,000 in attorneys’ fees to two individuals for labor code violation
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                                                                                                 12 claims); Bandoy v. Huh, 1996 WL 675975 (Super. Ct. 1996) (awarding $73,680 in
                                                                 Irvine, California 92614-7276




                                                                                                 13 attorneys’ fees in a single plaintiff wage and hour action).
                                                                                                 14         29.   Given the awards of attorneys’ fees in similar actions, attorneys’ fees in
                                                                                                 15 the amount of $50,000 is a conservative and a reasonable estimate of fees.
                                                                                                 16               Amount of Controversy
                                                                                                 17               Damages                        $46,664.00
                                                                                                 18               Waiting Time Penalties         $21,537.24
                                                                                                 19               Attorneys’ Fees                $50,000.00
                                                                                                 20               Total:                         $118,201.24
                                                                                                 21         30.   Notably, these figures do not include Plaintiffs’ request for punitive
                                                                                                 22 damages, which would only serve to further increase the amount in controversy.
                                                                                                 23 See Compl., Prayer for Relief ¶ 4.
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                                                                                                  1         31.     Based on the foregoing, the amount in controversy in this action
                                                                                                  2 exceeds the jurisdictional minimum of $75,000. As set forth above, Defendant need
                                                                                                  3 only provide evidence that it is “more likely than not” that the amount in
                                                                                                  4 controversy exceeds the jurisdictional minimum. Guglielmino v. McKee Foods
                                                                                                  5 Corp., 56 F.3d 696, 699 (9th Cir. 2007). Once this has been established, Plaintiff
                                                                                                  6 must demonstrate, to a “legal certainty,” that the amount in controversy is less than
                                                                                                  7 this amount. Here, Plaintiff will be unable to do so.
                                                                                                  8         32.     For these reasons, this action is a civil action over which this Court has
                                                                                                  9 original jurisdiction, pursuant to 28 U.S.C. section 1332, and which may be removed
                                                                                                 10 to this Court by Defendant pursuant to 28 U.S.C. section 1441 based on diversity
                                                                                                 11 jurisdiction.
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                                                                                                                         THE PROCEDURAL REQUIREMENTS OF
                                                                 Irvine, California 92614-7276




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                                                                                                 13                       28 U.S.C. SECTION 1446 ARE SATISFIED
                                                                                                 14         33.     In accordance with 28 U.S.C. section 1446(a), this Notice of Removal is
                                                                                                 15 filed in the District in which the action is pending. The Los Angeles County Superior
                                                                                                 16 Court is located within the Central District of California. Therefore, venue is proper
                                                                                                 17 in this Court because it is the “district and division embracing the place where such
                                                                                                 18 action is pending.” 28 U.S.C. § 1441(a).
                                                                                                 19         34.     In accordance with 28 U.S.C. section 1446(a), copies of all process,
                                                                                                 20 pleadings, and orders served upon Defendant are attached as Exhibits to this Notice
                                                                                                 21 of Removal.
                                                                                                 22         35.     In accordance with 28 U.S.C. section 1446(d), a copy of this Notice of
                                                                                                 23 Removal is being served upon counsel for Plaintiff, and a notice will be filed with the
                                                                                                 24 Clerk of the Superior Court of California, for the County of Los Angles. Notice of
                                                                                                 25 Compliance shall be filed promptly afterwards with this court.
                                                                                                 26         36.     As required by Federal Rule of Civil Procedure 7.1, Defendant
                                                                                                 27 concurrently filed its Corporate Disclosure Statement.
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                                                                                                  1                                     CONCLUSION
                                                                                                  2         For the foregoing reasons, Defendant hereby removes the above-entitled
                                                                                                  3 action to United States District Court for the Central District of California.
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                                                                                                       Dated: March 15, 2021              Allison C. Eckstrom
                                                                                                  5                                       Karina Lo
                                                                                                  6                                       BRYAN CAVE LEIGHTON PAISNER LLP

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                                                                                                                                          By: /s/ Karina Lo
                                                                                                  8                                           Karina Lo
                                                                                                  9                                       Attorneys for Defendant
                                                                                                                                          HYDRO EXTRUSION USA, LLC
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